Case 5:18-cv-00402-JSM-PRL Document 134 Filed 10/11/19 Page 1 of 2 PageID 959



                      UNITED STATES DISTRICT COURT FOR THE
                           MIDDLE DISTRICT OF FLORIDA
                                 OCALA DIVISION

CASEY E. WALSH,
      Plaintiff,                                     Case No.: 5:18-CV-00402-JSM-PRL
v.

The CITY OF OCALA, a municipal corporation,
MAYOR REUBEN GUINN, COUNCIL MEMBERS
MARY SUE RICH, JAY MUSLEH, MATTHEW
WARDELL, BRENT MALEVER, JAMES HILTY, and
CHIEF KENNETH GRAHAM, SHERIFF WILLIAM
WOODS, DEPUTY CHIEF MICHAEL BALKEN, and
CAPTAIN LOUIS BIONDI, in their individual capacities alone.
       Defendants.
____________________________________/


                         PLAINTIFF’S NOTICE OF SETTLEMENT

       COMES NOW, Plaintiff, CASEY E. WALSH, by and through her undersigned Counsel,

and pursuant to Local Rule 3.08(a), hereby notifies the Court that the Parties have reached an

amicable agreement to settle the claims asserted in Plaintiff’s Complaint against Defendant, CITY

OF OCALA (the “City”), pursuant to a settlement agreement dated August 30, 2019 (the

“Agreement”).

       Upon receipt of payment from City to Plaintiff, the Parties will file a stipulation and

agreement to entry of an Order of Dismissal with Prejudice as to Plaintiff’s complaint against City,

with each party to bear its own attorney’s fees and court costs except as otherwise provided in the

Agreement.

Dated: October 11, 2019.

                                                     Respectfully Submitted by,

                                                     /s/ Bobi J. Frank
                                                     Bobi J. Frank, Attorney at Law
Case 5:18-cv-00402-JSM-PRL Document 134 Filed 10/11/19 Page 2 of 2 PageID 960



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                                CERTIFICATE OF SERVICE

   I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically filed

with the Clerk of Courts via CM/ECF this 11th day of October, 2019, and served by electronic mail

on the following attorneys of record:


       Kielan S. Morera, ksm@lydeckerdiaz.com
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                                                    /s/ Bobi J. Frank
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